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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                            DETROIT OFFICE

TAMEKA BATES,                                 )
                                              )
                    Plaintiff,                )    2:17-cv-12628-PDB-EAS
                                              )
      v.                                      )
                                              )    Judge Borman
TRANS UNION, LLC, and                         )    Magistrate Judge Stafford
NAVIENT SOLUTIONS, LLC,                       )
and UNITED STUDENT AID                        )
FUNDS, INCORPORATED,                          )
                                              )
                    Defendants.               )

              STIPULATION TO DISMISS TRANS UNION, LLC

      By agreement, Plaintiff and Trans Union, LLC, by and through their

respective attorneys, state as follows:

      1.     Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

             Procedure, the parties hereby stipulate and agree that the above-

             captioned action should be dismissed with prejudice.

      2.     Plaintiff and Trans Union, LLC, by agreement, respectfully request that

             this case be dismissed with prejudice as to Trans Union, LLC only.

      3.     This case will proceed against Navient Solutions, LLC and United

             Student Aid Funds, Incorporated.




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Date: January 15, 2019

For Plaintiff, Tameka Bates             For Defendant, Trans Union, LLC

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                             ORDER OF DISMISSAL

        At the request of Plaintiff and Trans Union, LLC, a stipulation having been

duly filed, this matter is hereby dismissed with prejudice as to Trans Union, LLC

only.

        This case will proceed against Navient Solutions, LLC and United Student

Aid Funds, Incorporated.




Dated: January 15, 2019                s/Paul D. Borman
                                       Paul D. Borman
                                       United States District Judge




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